            Case: 4:22-cr-00146-HEA Doc. #: 18 Filed: 11/03/22 Page: 1 of 9 PageID #: 83

                                      UNITED STATES DISTRICT COURT
                                              EASTERN DISTRICT OF MISSOURI

 UNITED STATES OF AMERICA                                                     JUDGMENT IN A CRIMINAL CASE
                                                                              (For Revocation of Probation or Supervised Release)

 v.
                                                                              Case Number: 4:22-CR-00146-HEA(1)
 JUAN THOMPSON                                                                USM Number: 46606-044
                                                                              Lucille G. Liggett
                                                                              Defendant’s Attorney

THE DEFENDANT:
 ☒ admitted guilt to the following violation of condition(s):                         (See violations listed below)
 ☐ was found in violation of the following condition(s) after denial of guilt:       (See violations listed below)

The defendant is adjudicated guilty of these violations:

 Violation Number                                            Nature of Violation                                      Violation Ended
 Mandatory Condition No.2                You must not unlawfully possess a controlled                                    May 18, 2022
                                         substance
 Mandatory Condition No.3                You must refrain from any unlawful use of a                                     May 18, 2022
                                         controlled substance. You must submit to one drug
                                         test within 15 days of release from imprisonment and
                                         at least two periodic drug tests, thereafter, as
                                         determined by the court.
 Standard Condition No.13                You must follow the instructions of the probation                                July 14, 2022
                                         officer related to the conditions of supervision.


The defendant is sentenced as provided in pages 2 through 8 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.

       The defendant has not violated condition(s)                                   and is discharged as to such violation(s)
 ☐ condition.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic
circumstances.



 Last Four Digits of Defendant’s Soc. Sec. 0496                          November 3, 2022
                                                                                         Date of Imposition of Judgment

 Defendant’s Year of Birth: 1985
                                                                                                 Signature of Judge

 City and State of Defendant’s Residence:                                HENRY EDWARD AUTREY
 St. Louis, Missouri                                                     UNITED STATES DISTRICT JUDGE
                                                                                             Name and Title of Judge

                                                                         November 3, 2022
                                                                                                       Date
          Case: 4:22-cr-00146-HEA Doc. #: 18 Filed: 11/03/22 Page: 2 of 9 PageID #: 84
AO 245D (Rev. MOED 9/19) Judgment in a Criminal Case                                          Judgment -- Page 2 of 8

DEFENDANT:              JUAN THOMPSON
CASE NUMBER:            4:22-CR-00146-HEA(1)

                                         ADDITIONAL VIOLATIONS
 Violation Number                                      Nature of Violation                       Violation Ended
Special Condition                    You will participate in an outpatient treatment                July 14, 2022
                                     program approved by the United States Probation
                                     Office, which program may include testing to
                                     determine whether you have reverted to using drugs
                                     or alcohol.
Special Conditions                   You must participate in an outpatient mental health             July 14, 2022
                                     treatment program approved by the United States
                                     Probation Office.
Special Condition (Condition         You must participate in the Location Monitoring                April 25, 2022
Modified on April 14, 2022)          Program for a period of 30 days and shall abide by all
                                     technology requirements.
            Case: 4:22-cr-00146-HEA Doc. #: 18 Filed: 11/03/22 Page: 3 of 9 PageID #: 85
 AO 245D (Rev. MOED 9/19) Judgment in a Criminal Case                                                          Judgment -- Page 3 of 8

DEFENDANT:                JUAN THOMPSON
CASE NUMBER:              4:22-CR-00146-HEA(1)

                                                     IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:

four (4) months.

This term consists of 4 months on each of Counts 1 and 2, all such terms to be served concurrently.

 ☐ The court makes the following recommendations to the Bureau of Prisons:


 ☒ The defendant is remanded to the custody of the United States Marshal.

 ☐ The defendant shall surrender to the United States Marshal for this district:

          ☐ at                                     ☐    a.m.       ☐     p.m.      on

          ☐ as notified by the United States Marshal.

 ☐ The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          ☐ before 2 p.m. on
          ☐ as notified by the United States Marshal.
          ☐ as notified by the Probation or Pretrial Services Office.




                                  MARSHALS RETURN MADE ON SEPARATE PAGE
           Case: 4:22-cr-00146-HEA Doc. #: 18 Filed: 11/03/22 Page: 4 of 9 PageID #: 86
 AO 245D (Rev. MOED 9/19) Judgment in a Criminal Case                                                            Judgment -- Page 4 of 8

DEFENDANT:                 JUAN THOMPSON
CASE NUMBER:               4:22-CR-00146-HEA(1)

                                                   SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of : twenty four (24) months.

This term consists of 24 months on each of Counts 1 and 2, all such term to be served concurrently.


                                             MANDATORY CONDITIONS

 1.   You must not commit another federal, state or local crime.
 2.   You must not unlawfully possess a controlled substance.
 3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release
      from imprisonment and at least two periodic drug tests thereafter, as determined by the court.
           ☐ The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
                 substance abuse. (check if applicable)
 4.   ☒ You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence
           of restitution. (check if applicable)
 5. ☒ You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
 6. ☐ You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et
           seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which
           you reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
 7.   ☐ You must participate in an approved program for domestic violence. (check if applicable)

          You must comply with the standard conditions that have been adopted by this court as well as with any additional
 conditions on the attached page.
            Case: 4:22-cr-00146-HEA Doc. #: 18 Filed: 11/03/22 Page: 5 of 9 PageID #: 87
 AO 245D (Rev. MOED 9/19) Judgment in a Criminal Case                                                              Judgment -- Page 5 of 8

DEFENDANT:                 JUAN THOMPSON
CASE NUMBER:               4:22-CR-00146-HEA(1)

                               STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed
by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1. You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
frame.
2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
when you must report to the probation officer, and you must report to the probation officer as instructed.
3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
the court or the probation officer.
4. You must answer truthfully the questions asked by your probation officer.
5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
hours of becoming aware of a change or expected change.
6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer
to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
becoming aware of a change or expected change.
8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
probation officer.
9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that
was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or
tasers).
11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
without first getting the permission of the court.
12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
person and confirm that you have notified the person about the risk.
13. You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a
written copy of this judgment containing these conditions. I understand additional information regarding these
conditions is available at www.uscourts.gov.

 Defendant’s Signature                                                                             Date
            Case: 4:22-cr-00146-HEA Doc. #: 18 Filed: 11/03/22 Page: 6 of 9 PageID #: 88
 AO 245D (Rev. MOED 9/19) Judgment in a Criminal Case                                                             Judgment -- Page 6 of 8

DEFENDANT:                 JUAN THOMPSON
CASE NUMBER:               4:22-CR-00146-HEA(1)

                                 SPECIAL CONDITIONS OF SUPERVISION
While on supervision, the defendant shall comply with the standard conditions that have been adopted by this Court and shall comply
with the following additional conditions. If it is determined there are costs associated with any services provided, the defendant shall
pay those costs based on a co-payment fee established by the probation office.

You must not use or possess any controlled substances without a valid prescription. If you do have a valid prescription,
you must disclose the prescription information to the probation officer and follow the instructions on the prescription.

You must submit to substance abuse testing to determine if you have used a prohibited substance. You must not attempt to
obstruct or tamper with the testing methods.

You must not knowingly purchase, possess, distribute, administer, or otherwise use any psychoactive substances (e.g.,
synthetic marijuana, bath salts, etc.) that impair a person's physical or mental functioning, whether or not intended for
human consumption, except with the prior approval of the probation officer.

You must participate in a cognitive-behavioral treatment program and follow the rules and regulations of that program.
The probation officer will supervise your participation in the program (provider, location, modality, duration, intensity,
etc.). Such programs may include group sessions led by a counselor or participation in a program administered by the
probation office.

You must participate in a substance abuse treatment program and follow the rules and regulations of that program. The
probation officer will supervise your participation in the program (provider, location, modality, duration, intensity, etc.).

You must participate in a mental health treatment program and follow the rules and regulations of that program. The
probation officer, in consultation with the treatment provider, will supervise your participation in the program (provider,
location, modality, duration, intensity, etc.).

You must take all mental health medications that are prescribed by your treating physician.

You must not communicate, or otherwise interact, with Francesca Rossi, either directly or through someone else, without
first obtaining the permission of the probation officer.

You must advise the probation office of all computers, electronic equipment, and web-enabled equipment, including cell
phones, that you possess or to which you have access, within 24 hours of obtaining same.

You must not incur new credit charges, or open additional lines of credit without the approval of the probation officer.

You must apply all monies received from any anticipated and/or unexpected financial gains, including any income tax
refunds, inheritances, or judgments, to the outstanding Court-ordered financial obligation. You must immediately notify
the probation office of the receipt of any indicated monies.

If the judgment imposes a financial penalty, you must pay the financial penalty in accordance with the Schedule of
Payments sheet of the judgment. You must also notify the court of any changes in economic circumstances that might
affect the ability to pay this financial penalty.

You must provide the probation officer with access to any requested financial information and authorize the release of any
financial information. The probation office may share financial information with the U.S. Attorney's Office.
             Case: 4:22-cr-00146-HEA Doc. #: 18 Filed: 11/03/22 Page: 7 of 9 PageID #: 89
 AO 245D (Rev. MOED 9/19) Judgment in a Criminal Case                                                                     Judgment -- Page 7 of 8

DEFENDANT:                   JUAN THOMPSON
CASE NUMBER:                 4:22-CR-00146-HEA(1)

                                        CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments.
                        Assessment             Restitution               Fine AVAA Assessment*                            JVTA Assessment**
 TOTALS                     $100.00             $21,313.38               $.00

           ☐               The determination of restitution is deferred until  An Amended Judgment in a Criminal Case
                           (AO245C) will be entered after such determination.
           ☒               The defendant must make restitution (including community restitution) to the following payees in the
                           amount listed below.


         If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment. However, pursuant to 18 U.S.C.
         § 3664(i), all nonfederal victims must be paid before the United States is paid.

IT IS FURTHER ORDERED that pursuant to 18 U.S.C. § 3663A, the defendant shall make restitution in the total
amount of $21,313.38 to:

         FRANCESCA ROSSI               address unknown              $21,313.38

Juan Thompson is solely responsible for this obligation in Docket No. 4:22CR00146-1 HEA, as indicated above,
meaning that no further payments shall be required after the sum of the amounts actually paid by defendant has
fully covered the compensable injuries. Payments of restitution shall be made to the Clerk of the Court for transfer
to the victim. The interest requirement for the restitution is waived.

Restitution must be paid in monthly installments of 10% of gross monthly income over a period of supervision to
commence 30 days after the date of the judgment or the release from custody if imprisonment is imposed.

The defendant must notify the United States Attorney for this district within 30 days of any change of mailing or
residence address that occurs while any portion of the restitution remains unpaid.




 ☐ Restitution amount ordered pursuant to plea agreement $
 ☐ The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
       the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options may be subject to
       penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).
 ☒     The court determined that the defendant does not have the ability to pay interest and it is ordered that:
       ☒ the interest requirement is waived for the          ☐ fine                            ☒ restitution
       ☐ the interest requirement for the                       ☐ fine                                ☐ restitution is modified as follows:

* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22
*** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
             Case: 4:22-cr-00146-HEA Doc. #: 18 Filed: 11/03/22 Page: 8 of 9 PageID #: 90
 AO 245D (Rev. MOED 9/19) Judgment in a Criminal Case                                                                          Judgment -- Page 8 of 8

DEFENDANT:                    JUAN THOMPSON
CASE NUMBER:                  4:22-CR-00146-HEA(1)

                                                  SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

 A      ☒ Lump sum payments of $ 21,413.38 due immediately, balance due
        ☐ not later than                                        , or

        ☒ in accordance                    ☐      C,          ☐        D,       ☐       E, or       ☒       F below; or

 B      ☐ Payment to begin immediately (may be combined with                    ☐       C,          ☐       D, or              ☐       F below); or

 C      ☐ Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                      over a period of
                                   (e.g., months or years), to commence                      (e.g., 30 or 60 days) after the date of this judgment;
              or

 D      ☐ Payment in equal 20 (e.g., weekly, monthly, quarterly) installments of $                                  over a period of
                                (e.g., months or years), to commence                         (e.g., 30 or 60 days) after release from
              imprisonment to a term of supervision; or

 E      ☐ Payment during the term of supervised release will commence within                       (e.g., 30 or 60 days) after release
              from imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that
              time; or

 F      ☒ Special instructions regarding the payment of criminal monetary penalties:
              IT IS FURTHER ORDERED that the defendant shall pay the United States an outstanding special
              assessment of $100, which shall be due immediately. See page 7 for criminal monetary penalties and
              restitution.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

 ☐ Joint and Several
        See above for Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and
        Several Amount, and corresponding payee, if appropriate.




 ☐ The defendant shall pay the cost of prosecution.
 ☐ The defendant shall pay the following court cost(s):
 ☐ The defendant shall forfeit the defendant’s interest in the following property to the United States:



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment, (5)
fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of prosecution
and court costs.
         Case: 4:22-cr-00146-HEA Doc. #: 18 Filed: 11/03/22 Page: 9 of 9 PageID #: 91
DEFENDANT:           JUAN THOMPSON
CASE NUMBER:         4:22-CR-00146-HEA(1)
USM Number:          46606-044

                                 UNITED STATES MARSHAL
                          RETURN OF JUDGMENT IN A CRIMINAL CASE

I have executed this judgment as follows:

Date defendant was delivered with certified copy of this judgment:____________________


Name and location of facility:__________________________________________________



☐ Defendant was sentenced to Time Served and was released on:______________________

☐ Defendant was sentenced to _______ months/years of Probation and was released on:__________________

☐ Defendant was sentenced to _______ months/years of Supervised Release and was released on:___________




__________________________________________________
NAME OF US MARSHAL/WARDEN



__________________________________________________
By: NAME OF DEPUTY US MARSHAL/CSO
